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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:05CR250
                              )
          v.                  )
                              )
JOLENE CORTEZ,                )                      ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on plaintiff’s motion

for Rule 35 hearing (Filing No. 74).         Accordingly,

           IT IS ORDERED:

           1) A hearing on plaintiff’s Rule 35 motion is scheduled

for:

                Friday, December 15, 2006, at 10:45 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.         Defendant need not be

present.

           2) Michael Poepsel, retained counsel for the defendant,

remains as counsel for the defendant until the Rule 35(b) motion

is resolved or until given leave to withdraw.

           DATED this 7th day of December, 2006.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
